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                        Exhibit B

           Faith Community
                Letters
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B-1    Arreola, Elizabeth

B-2    Brandt, Daniel (Rev.)

B-3    Canary, John (Msgr.)

B-4    Donahue, John (Deacon)

B-5    Foley, Matthew (Rev.)

B-6    Gallagher, James (Fr.)

B-7    Graf, Gary (Rev.)

B-8    Holtschneider, Dennis (Rev.)

B-9    Kub, Francis (Rev.)

B-10   Listecki, Jerome (Rev.)

B-11   Mayall, Daniel (Msgr.)

B-12   McCarthy, Thomas (Rev.)

B-13   Pfleger, Michael (Rev.)

B-14   Velo, Kenneth (Msgr.)

B-15   Watts, Wayne (Rev.)

B-16   Wolfe, Moshe (Rabbi)
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February 10, 2024


Judge Virginia M. Kendall
United States District Court
Northern District of Illinois
219 S. Dearborn Street
Chicago, Il. 60604

Dear Judge Kendall:

I am writing this letter on behalf of Alderman Edward Burke.

My name is Elizabeth Arreola. I have served different communities in the City of Chicago as a
community leader and a Food Pantry Director with the Society of Saint Vincent de Paul for 40
years. During the majority of those years, I have had the privilege of working hand-in-hand with
Alderman Edward M. Burke. I want to share with you how diligently Alderman Burke has worked
for the past 50 years on behalf of the City of Chicago and its residents during times of change and
need.

Alderman has been a godsend for the needy in our communities; providing financial assistance to
our local food pantries as well as volunteering his time to prepare and pass out bags of food in
our pantries in a humble demeanor. His donations have made it possible for our food pantries to
be able to provide toys for Christmas time to children, school supplies to students during our
Back-to-School events, and food for needy families not only during our Thanksgiving,
Easter, and Christmas events but throughout the whole year. This has earned him the love,
respect, and loyalty of the residents of his ward and the communities surrounding it. His work as
a public servant has made this city a good place to live by bringing new and safer schools and
excellent city services to our communities but his kindness and benevolence have warmed the
hearts of many. It is for this reason I, respectfully, ask that you grant Mr. Burke some clemency
at the time you make your sentencing.

If you need to speak with me, my phone number is                   .

Sincerely yours,

Elizabeth Arreola
Director
Society of Saint Vincent de Paul




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     Judge Virginia M. Kendall
     United States District Court
     Northern District of Illinois
     219 S. Dearborn Street
     Chicago, Illinois 60004



     Dear Judge Kendall,

     Greetings. My name is Fr. John Canary. I am a priest of the Archdiocese of Chicago. I am a
     friend of Mr. Ed Burke. I have known Ed since we entered high school together in 1957. We
     were assigned to the same homeroom classroom as we began our high school years.

     I have kept up with Ed over the years. For several years I assisted at St. Richard Parish on the
     South side of Chicago which was in the Alderman’s Ward and I would have contact with him and
     his wife, Anne, during those years. From 2006 – 2013, I was Vicar General of the Archdiocese of
     Chicago and I had numerous contacts with him as the Archdiocese worked with the city of
     Chicago on various projects.

     I am aware the Mr. Burke has been charged and convicted of criminal behavior. I know he now
     awaits his sentence. As the case moves toward conclusion, there are three things I would like to
     mention for your consideration.

     Over the years that I have known Ed Burke, at the center of his life has been his family. Ed
     comes from a political family, and he has been in politics himself for more than 50 years, and
     this can be a very demanding life of service, but time and again I have seen the priority Ed gives
     to his wife and to his family. They have always come first and he has been a devoted husband
     and loving father.

     A second consideration is his life of service. For more than 50 years, he served his constituents
     on the South side of Chicago. I know firsthand from the parishioners at St. Richard parish that
     they felt they could go to the Alderman with particular needs and concerns, and they knew that
     he would do what he could to address their concerns. The people in St. Richard parish would
     say they felt attended to and well served by him, which is why he was able to serve them for
     over 50 years.

     A third consideration is an age consideration. Ed is now in his 80’s. As a classmate, I know our
     future time is very limited. It would be a blessing if there might be some quality time
     remaining for him and his family together.

     Thank you for listening to my consideration as this case moves to its conclusion.



     Msgr. John Canary

     Senior Priest of the Archdiocese of Chicago




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February 10, 2024

Judge Virginia M Kendall
United States District Court
Northern District of Illinois
219 S. Dearborn Street
Chicago, Illinois 60604



Dear Judge Kendall,

    I respectfully, Judge with these words write on behalf of Alderman Ed Burke in response to
his invitation to speak to you about his character. I met Ed Burke after just being assigned to St
Gall Parish as its Pastor in 2009. St Gall is located at 55th and Kedzie Avenue on the city of
Chicago’s south side and in the precinct where Ed Burke had been Alderman at the time for almost
40 years. I met him as his car stopped in front of our church one snowy weekday as he was
attending daily mass and was clearing the snow for those entering church. He rolled down the
window and commented on how long it has been since he saw a priest shoveling snow for his
parishioners. I came to discover as he passed by on an almost weekly basis to make sure that our
parish food pantry was sufficiently stocked that he was a man that put the word he heard each
morning at Mass into practice in his daily life. He furthermore asked on a regular basis if I needed
anything for a struggling family who were finding it difficult to feed their own. His concern was
not as Alderman or politician but as a man of faith who had an empathy for the marginalized that
I have rarely seen in my 40 years as a Priest.

       In 2018 after leaving St Gall in 2016 and after 2 years bringing 2 parishes together serving
in the Pilsen community of the City I was assigned to bring 3 more parishes together in the
Humboldt Park neighborhood. Six weeks after arriving there an accusation against me brought
me to be removed from ministry for a period of 7 months. Before I received a call from the
Cardinal of the Archdiocese or even members of my own family Alderman Ed Burke called me
and told me he was holding me in prayer and that I was an exemplary priest. He called me every
week during those 7 months reminding me that he was thinking and praying for me, something
only one other brother priest did. I know that I am not alone in identifying the generosity, kindness
and concern for those in need that has always been a hallmark of Ed Burke’s life but given his
present travails I consider it a privilege to now do my small part to let him know through these
words that his goodness to me and personal assistance offered to others who had no other recourse
in times of extreme need is left unnoticed.

Respectfully,


Rev Gary Graf
Our Lady of the Heights




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April 21, 2024


To:
The Honorable Judge V. Kendall
219 S. Dearborn St
Chicago, Il. 60604



Dear Judge Kendall,


I write this letter on behalf of Ret. Alderman Ed Burke. As Chaplain for the Chicago Police and
Fire Departments, I have worked with Ald. Burke for over 30 years. He was ALWAYS there to
help and assist others in time of need. He always had room on his shoulders for the burden of
others.

He went above and beyond the call of duty, to assist the whenever called upon. He was one of the
strongest advocates for the Gold Star Families and Gold Badge Society. These are the
organizations of the CPD and the CFD of the families that lost loved ones in the line of duty. He
touched the hearts of many with his kindness. He is a man of faith who lived his life serving the
public.

On behalf of all those that he helped while in office and myself, we ask for any consideration for
leniency and forgiveness.

Thank you and God bless you.


Sincerely,

Rabbi Moshe Wolf




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